
701 S.E.2d 670 (2010)
STATE of North Carolina
v.
Henry Artez RICHARDSON.
No. 234P10.
Supreme Court of North Carolina.
August 26, 2010.
Michael J. Reece, for Henry Artez Richardson.
Jane Ammons Gilchrist, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the petition filed on the 2nd of June 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
